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HMG: USA0#2019R60460

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

  
 

UNITED STATES : CRIMINAL NO. LL “

. (False Claims, 18 U.S.C5§.287

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MELISSA HEYER,
Defendant.
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INDICTMENT

COUNTS ONE TO FIVE — FALSE CLAIMS

The Grand Jury for the District of Maryland charges:
INTRODUCTION

At times material to this Indictment:

1. Defendant MELISSA HEYER (“HEYER”) was a resident of Montgomery
County, Maryland.

2. Company A had a contract with Company B, pursuant to which Company A
provided employees that performed national security duties for the U.S. Department of Defense
(“DOD”). Company A was the subcontractor and Company B was the prime contractor.

3. From in or about January 2017 until in or about March 2019, HEYER worked for
Company A, but was assigned on a day-to-day basis to work for the DOD on national security

matters at the National Security Agency (“NSA”), Fort Meade, Maryland.
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4, From in or about January 2017 until in or about March 2019, HEYER held a Top
Secret-Sensitive Compartmented Information (TS/SCT) security clearance.

5. HEYER performed her day-to-day duties for Company A and the DOD at a
sensitive compartmented information facility (“SCIF”).

6. HEYER used a badge reader to gain access to the NSA facility and the SCIF where
she performed her daily duties.

7. Companies A and B required HEYER to enter her hours online for each day
worked.

8. HEYER submitted her work hours to Company A and Company B, which then
submitted invoices that listed the hours of employees to DOD.

9. From in or about January 2017 until in or about March 2019, HEYER was absent
from her work location at the NSA, and falsely represented to her employer that she had been —
working at the NSA SCIF when she was actually elsewhere.

10. From in or about January 2017 until in or about March 2019, HEYER caused false
claims to be submitted to the DOD that resulted in the government paying more than $100,000 to
Company A, Company B, and HEYER to which they and HEYER were not entitled.

THE FALSE CLAIMS

11. On or about the dates set forth below, in the District of Maryland and elsewhere, the

defendant,
MELISSA HEYER,
knowingly made and presented and caused to be made and presented to the DOD, a claim against

the United States for payment of wages on a government contract, knowing that such claim was
 

 

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materially false, fictitious, and fraudulent, in that the defendant prepared and caused to be

prepared, and filed and caused to be submitted to the DOD, each claim set forth below when the

defendant then and there knew that the claims were false, fictitious, and fraudulent because she had

not worked the hours claimed:

 

 

 

 

 

 

 

 

 

 

 

 

Date(s) Of . False Wages Claimed By
Count Claimed Work Hours Billed The Defendant
I $/11/2017 10 $856
2 5/17/2017 10 $856
3 11/1/2017-1 1/2/2017 16 More than $1,000
4 2/13/2018 10 $860
5 1/23/18 — 7/27/18 45.25 More than $3,500
18 U.S.C. § 287
18 U.S.C. §2
ROBERT K. HUR / @
United States Attorney
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